 

Case 18-12394-K.]C Doc 38 Filed 10/26/18 Page 1 of 5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

)
ln re; ) Chapter ll

)
NSC WHOLESALE HOLDINGS LLC, et al.,1 ) Case No, 18-12394 (KJC)
)
Debtors. ) JointAdministration Requested
) Re: Docket No. 7
)

INTERIM ORDER (I) AUTHORIZING, BUT NOT DIREC'I`ING, DEBTORS TO
(A) PAY AND HONOR PREPETITION WAGES, SALARIES, OTHER
COMPENSATION, REIMBURSABLE BUSINESS EXPENSES, AND EMPLOYEE
BENEFIT OBLIGATIONS, AND (B) MAINTAIN AND CONTINUE CERTAIN
COMPENSATION AND BENEFIT PROGRAMS POSTPETITION;

AND (II) GRANTING RELATED RELIEF

 

Upon the motion (the “Motion”)Z of the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) for entry of interim and final orders, pursuant to
sections lOS(a), 363(b), 507(a)(4), 507(a)(5), 541, llO'/(a), and 1108 of title ll of the United
States Code (the “Bankruptcy Code”), rules 6003 and 6004 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), and rule 9013-l(m) of the Local Rules of Bankruptcy
Practice and Procedure of the United States Bankruptcy Court for the District of DelaWare (the
“Local Rules”), authorizing, but not directing, the Debtors, in accordance With their past and
current policies and practices, to: (a) pay unpaid prepetition Wages, salaries, and accrued
compensation including incentive compensation, health and Welfare benefit obligations, and

reimbursable business expenses, as applicable to the Workforce, and all costs related thereto

 

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are; NSC Wholesale Holdings LLC (6210); National Wholesale Liquidators of Lodi, lnc. (4301);
NSC Realty Holdings LLC (4779); NSC of West Hernpstead, LLC (5582); Top Key LLC (7503); BP
Liquor LLC (2059); and Teara LLC (8660). The Debtors’ mailing address is lll Hempstead Turnpike,
West Hempstead, NY 11552.

Capitalized terms used in this Order but not otherwise defined herein shall have the meanings ascribed to
such terms in the Motion.

24897803 10 lO/26/2018

 

 

Case 18-12394-K.]C Doc 38 Filed 10/26/18 Page 2 of 5

(collectively, the “Workforce Obligations”); (b) maintain and continue to honor the Workforce
Obligations as they were in effect as of the Petition Date and as such may be modified, amended
or supplemented from time to time in the ordinary course. ln addition, the Debtors request that
the Court authorize and direct banks and other financial institutions (collectively, the “Banks”)
to honor and process checks and electronic transfer requests related to all of the foregoing, as
more fully set forth in the Motion; and upon the First Day Declaration; and upon the record of
the hearing on this Motion; and this Court having jurisdiction over this matter pursuant to 28
U.S.C. §§ 157 and 1334 and the Amendea’ Sl‘ana'ing Order ofReference from the United States
District Court for the District of Delaware, dated February 29, 2012; and this Court having found
that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that
venue of this proceeding and the Motion in this District is proper pursuant to 28 U,S.C. §§ 1408
and 1409; and due and proper notice of the Motion having been given under the circumstances;
and this Court having found that the relief requested by the Motion is in the best interests of the
Debtors’ estates, their creditors, and other parties-in-interest; and sufficient cause appearing
therefor, it is hereby

ORDERED, ADJUDGED, AND DECREED THAT:

1. The Motion is granted on an interim basis as set forth herein.

2. Pursuant to sections 105(a), 363(b), 507(a)(4), 507(a)(5), 541, 1107(a), and 1108
of the Banl<ruptcy Code and Bankruptcy Rule 6003, the Debtors are authorized, but not directed,
to: (a) pay and/or honor, in their sole discretion, the prepetition Workforce Obligations up to the
following amounts:

Wages & Salaries - $160,000
lncentive Compensation - $4,000

Reimbursable Business Expenses - $5,000
Benef`it Programs - $95,000

24897803. 10 10/26/2018

 

 

Case 18-12394-K.]C Doc 38 Filed 10/26/18 Page 3 of 5

provided, however, that no member of the Workforce shall be paid on account of any prepetition
Workforce Obligation over the statutory cap of $12,850, absent further order of the Court, and
(b) maintain and continue to honor the Workforce Obligations in the ordinary course of business
on a postpetition basis.

3. The Debtors are authorized to pay processing, administrative, and other costs
relating to the Workforce Obligations.

4. The Debtors are authorized to continue honoring accrued vacation by permitting
employees to take their regularly scheduled vacations. To the extent employees are laid off or
otherwise terminated after the Petition Date, the Debtors are authorized, but not directed, to pay
such employees the cash value of such employee’s accrued vacation at the time of termination

5. The Debtors and any applicable third parties are authorized to continue to allocate
and distribute the Employee Withholdings to the appropriate taxing authorities or third-party
recipients in accordance with the Debtors’ stated policies and prepetition practices.

6. The Banks are authorized, when requested by the Debtors, to receive, process,
honor, and pay any and all checks drawn on, or electronic transfer requests from, the Debtors’
accounts to pay prepetition obligations authorized to be paid hereunder, whether such requests
were presented or submitted prior to or after the Petition Date, provided that sufficient funds are
available in the applicable bank accounts to make such payments The Debtors are further
authorized to reimburse, at their sole discretion, any member of the Workforce for any fees or
expenses incurred in connection with any rejected checks as a result of the Debtors’ bankruptcy
filing.

7. The Banks may rely on the representations of the Debtors with respect to whether

any check or other transfer drawn or issued by the Debtors prior to the Petition Date should be

24897803 10 10/26/2018

 

 

Case 18-12394-K.]C Doc 38 Filed 10/26/18 Page 4 of 5

honored pursuant to this Order, and any such Bank shall not have any liability to any party for
relying on such representations

8. The Debtors are authorized to issue postpetition checks, or to affect postpetition
fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored
as a result of the filing of the Chapter ll cases with respect to prepetition Workforce Obligations
authorized to be paid hereunder.

9. All transfers made pursuant to this Order shall be subject to the terms and
conditions of any order authorizing the use of cash collateral or postpetition financing entered in
the Chapter 11 Cases.

10. Notwithstanding the relief granted in this Order and any actions taken pursuant to
such relief, nothing in this Order shall be deemed: (a) an admission regarding the validity or
amount of any claim against the Debtors; (b) a waiver of the Debtors’ rights to subsequently
dispute any claim on any grounds; (c) a promise or requirement to pay any claim; (d) a request or
authorization to assume any agreement, contract, or lease pursuant to section 365 of the
Bankruptcy Code; (e) a waiver or limitation of the Debtors’ rights under the Bankruptcy Code or
any other applicable law; (f) to grant third-party beneficiary status or bestow any additional
rights on any third-party; or (g) be otherwise enforceable by any third-party.

11. Notwithstanding the relief granted herein or any action taken hereunder, nothing
contained in this Order shall create any rights in favor of, or enhance the status of any claim held
by, any member of the Workforce, or any other person or entity.

12. The requirements of Bankruptcy Rule 6003(b) have been satisfied

13. The requirements of Bankruptcy Rule 6004(a) are waived.

24897803 |0 10/26/2018

 

 

Case 18-12394-K.]C Doc 38 Filed 10/26/18 Page 5 of 5

14. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order
shall be immediately effective and enforceable upon its entry.

15. The Debtors are authorized to take all steps necessary or appropriate to carry out
the terms of this Order.

16. This Court shall retain jurisdiction with respect to all matters relating to the
interpretation or implementation of this Order.

17. A final hearing to consider the relief requested in the Motion shall be held on
November 14, 2018 at 10:00 a.m. (Prevailing Eastern Time) and any objections or responses to
the Motion shall be filed and served so as to be actually received on or prior to on November 9,
2018 at 4:00 p.m. (Prevailing Eastern Time).

18. Nothing in this Order authorizes or approves any payment subject to Section
503(c) of the Bankruptcy Code.

19. Nothing in this Order authorizes the Debtors to cash out unpaid vacation/leave

time upon termination of an employee, unless applicable state law requires such payment

ddt/vw
UNITTD srA§-:§ BANKRDCY JUDGE

Daied; 0§"11(' ,2018

Wilmington, Delaware

 

24897803 10 10/26/2013

 

